Case 3:22-cv-02399-GAH-RAL Document 10 Filed 05/30/22 Page 1 of 20 PageID: 141




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 Attorney for Plaintiff,

                UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEW JERSEY

  LAWYERS FOR FAIR RECIPROCAL                    Case No.: 3-22-cv-02399 GAH-
  ADMISSION,                                     RAL

  Plaintiff,                                     NOTICE OF MOTION AND
                                                 MOTION TO RECUSE THE
  v.                                             HON. MAGISTRATE JUDGE
                                                 RICHARD A. LLORET;
  UNITED STATES, ATTORNEY                        MEMORANDUM OF POINTS
  GENERAL MERICK B. GARLAND,                     AND AUTHORITIES; 28 U.S.C.
  Et.al                                          455

  Defendants,



 _____________________________________________



        Plaintiffs respectfully request the Court to recuse the Hon. Magistrate Judge

 RICHARD A. LLORET forthwith for the following reasons: (i) because the

 Plaintiffs’ loss of First Amendment freedoms for even minimal periods of time

 constitutes an irreparable injury; (ii) to avoid delay and the needless duplication of

 judicial resources; (iii) the national importance of the multiple First Amendment and

                                           1
Case 3:22-cv-02399-GAH-RAL Document 10 Filed 05/30/22 Page 2 of 20 PageID: 142




 separation of powers issues presented: and (iv) the fact the Hon. GERALD A.

 McHUGH has previously decided a similar local Rule challenge under the

 professional speech doctrine and rational basis review that was affirmed by the

 Third Circuit and recent Supreme Court precedent squarely overruling Third and

 Ninth Circuit professional speech licensing cases and rejecting rational basis

 review; and (v) the statutory standards for recusal set forth in 28 U.S.C. § 455.

                MEMORANDUM OF POINTS AND AUTHORITIES

          1. THE SUPREME COURT HAS CHANGED THE LANDSCAPE
             FOR PROFESSIONAL SPEECH AND FIRST AMENDMENT
             JURISPRUDENCE REJECTING THE RATIONAL BASIS
             REVIEW STANDARD THIS COURT PREVIOUSLY APPLIED TO
             A LOCAL RULE CHALLLENGE

          This case concerns conceptual change concerning equal citizenship rights in

 the United States Courthouse advanced by the American Bar Association and

 Supreme Court. Barbara McClintock1 was born in 1902. She earned a Ph.D. from

 Cornel in 1927. She is in an American scientist and cytogeneticist who was awarded

 the 1983 Nobel Prize in Physiology or Medicine. She developed the technique for

 visualizing corn chromosomes and used microscopic analysis to demonstrate many

 fundamental genetic ideas. One of those ideas was the notion of genetic

 recombination by crossing-over during meiosis—a         mechanism      by     which



 1
     Barbara McClintock - Wikipedia
                                           2
Case 3:22-cv-02399-GAH-RAL Document 10 Filed 05/30/22 Page 3 of 20 PageID: 143




 chromosomes exchange information. One day in 1930, she stood with a group of

 scientists in the cornfields around Cornell University, pondering the results of a

 genetics experiment that did not pan out according to the received wisdom. After a

 half hour, she jumped up and shouted “Eureka I have found it.” Barbara McClintock

 spent so much time with her plants in the preparation of their genetic material that

 she knew them intimately as individuals. She literally took the time to make friends

 with them and to see them in their own terms. She developed a feeling for the

 organism. The problem was nobody believed her because her theory contradicted

 the received wisdom of that era. She was derided for her “jumping genes2” theory.

 Her colleagues thought she had gone mad. This was decades before Watson and

 Crick’s Noble Prize work on the DNA double helix and decades before the gene

 cloning and recombination scientific advances.       McClintock said, “When you

 suddenly see the problem, something happens that you have the answer – before you

 are able to put it into words. It is all done subconsciously. This has happened to me

 many times. I am so absolutely sure I don’t have to tell anybody, I’m just sure this

 is it.”   In reference to her decision 20 years earlier to stop publishing detailed

 accounts of her work because nobody believed her, she wrote in 1973:



 2
  Robert M Sapolsky, Behave: The Biology of Humans at Our Best and Worst.
 Penguin Publishing Group. Kindle Edition, Chapter 47 Dr. Sapolsky is a professor
 of Neuroscience at Stanford and a MacArthur Genius Award recipient.

                                           3
Case 3:22-cv-02399-GAH-RAL Document 10 Filed 05/30/22 Page 4 of 20 PageID: 144




       Over the years I have found that it is difficult if not impossible to bring
       to consciousness of another person the nature of his tacit assumptions
       when, by some special experiences, I have been made aware of them. This
       became painfully evident to me in my attempts during the 1950s to
       convince geneticists that the action of genes had to be and was controlled.
       It is now equally painful to recognize the fixity of assumptions that many
       persons hold on the nature of controlling elements in maize and the
       manners of their operation. One must await the right time for conceptual
       change. 3 (Emphasis added)

       The ABA in embarking on a conceptual change has concluded experienced

 attorneys do not need to take another entry-level bar exam. According to national

 studies undertaken by the American Bar Association, experienced attorneys have

 already established their competence by their admission and have demonstrated that

 they are not a threat to the public by their experience. The ABA recommends all

 states and federal district court provide reciprocal admission on motion to sister-state

 attorneys in good standing. In 2019, over 16,000 lawyers were admitted to the bar

 of a second state either by admission on motion for experienced attorneys or transfer

 of UBE scores. Thirty-eight states have adopted the UBE exam including New

 Jersey, which does not test state law. Only eight states have not adopted some form

 of full faith and credit reciprocal admission on motion .4

       In the federal admission context, there is no difference in attorney licensing

 regardless of the state of admission or office location in the United States Supreme


 3
  See footnote 1. Wikipedia.
 4
  California, Delaware, Florida, Hawaii, Louisiana, Nevada, Rhode Island, and
 South Carolina.
                                            4
Case 3:22-cv-02399-GAH-RAL Document 10 Filed 05/30/22 Page 5 of 20 PageID: 145




 (Supreme Court Rule 5), U.S. Courts of Appeal (FRAP 46), or practice before

 federal administrative agencies (5 U.S.C. § 500(b)) as there is no difference in

 federal marriage license qualifications based on state law. The local Rules in 1/3 of

 the 94 District Courts also do not discriminate for or against any class of citizens.

 This case thus raises issues of national importance because it calls into question the

 lawfulness of local Rules that dispense unequal citizenship rights in the majority of

 United States District Courthouse.

       Plaintiffs aver the attorney admission local Rules that deny reciprocal

 admission to lawyers in good standing licensed in forty-nine states and that compel

 all American citizens to associate with a forum state lawyer or forfeit their statutory

 right to counsel in the United States District Court are antiquated, egregiously

 wrong, and facially unconstitutional. Plaintiffs aver the balkanized and uneven local

 Rules have nothing what-so-ever to do with merit or competence: All novice forum

 state attorneys (the special favorites) are categorically qualified, and all experienced

 lawyers from forty-nine states (the subordinate second-class citizens) are

 categorically disqualified. "[T]he concept that government may restrict the speech

 of some elements of our society in order to enhance the relative voice of others is

 wholly foreign to the First Amendment." Citizens United v, FEC, 130 S.Ct. 876, 905

 (2010). These nonuniform and disparate local Rules are constructed on the absurd

 and arbitrary fiction — that forum state law that has no jurisdiction or application


                                            5
Case 3:22-cv-02399-GAH-RAL Document 10 Filed 05/30/22 Page 6 of 20 PageID: 146




 outside of the forum state — should control federal jurisdiction and application of

 federal law inside the United States Courthouse. Plaintiffs aver this is delegation

 running riot. See Separation of Powers Cause of Action ¶¶ 87-97.

       PROFESSIONAL SPEECH AND RATIONAL BASIS REVIEW —

       Plaintiffs further aver that prior court decisions upholding this federal local

 Rule discrimination, including this Court’s prior decision in NAAMJP v. Simandle,

 under the professional speech doctrine and rubber-stamp rational basis in the Third

 Circuit, and in most circuits fail to appreciate the liberties at stake. More importantly,

 they have been disavowed and overturned by a sea change in Supreme Court

 precedent.5 (The Ninth Circuit moved from rational basis to the intermediate

 standard of review in 2005.6 ) The Supreme Court has changed the legal landscape.


 5
  NAAMJP v. Simandle, 658 Fed.Appx. 127 (3d Cir. 2016), unpublished 3rd Circuit
 2016 upholding N. J. District Court local Rules as rational and relying on the
 professional speech doctrine. The Third Circuit held "The assumptions underlying
 these rationales may be erroneous, but the very fact that they are arguable is
 sufficient, on rational-basis review, to immuniz[e] the [rule] from constitutional
 challenge." Id. at 130. NAAMJP v. Lynch, 826 F. 3d 191 (4th Cir. 2016), upholding
 District Court local Rules under rational basis review. “[T]he professional speech
 doctrine allows the government to "license and regulate those who would provide
 services to their clients for compensation without running afoul of the First
 Amendment.” Id. at 195. NAAMJP v. Howell, 851 F. 3d 12, 19-20 (D.C. Cir. 2017)
 upholding local Rules as rational relying on the professional speech doctrine. Each
 of these cases upholding local Rules as rational under the professional speech
 doctrine cite each other as precedent. Thus, misapplication of law based on the so-
 called professional speech doctrine and rational basis review is piled on each other.
 6
  See NAAMJP v. Berch, 773 F.3d 1037 (9th Cir. 2014), upholding and applying
 intermediate time, place, manner review to First Amendment bar admission
                                             6
Case 3:22-cv-02399-GAH-RAL Document 10 Filed 05/30/22 Page 7 of 20 PageID: 147




 It recently and squarely rejected the so-called professional speech doctrine. See

 NIFLA v. Becerra, 138 S.Ct. 2361 (2018), overturning the Ninth Circuit and citing

 with disapproval lower court decision applying the so-called professional speech

 doctrine, including the Third Circuit’s decision in King v. Governor of New

 Jersey, 767 F.3d 216, 232 (C.A.3 2014). Id. at 2371. The Supreme Court has also

 squarely held rational basis review is foreign to its First Amendment jurisprudence.

 See Janus v. American Federal of State, County, and Municipal Employees 138 S.

 Ct. 22448, 2465 (2018) (“This form of minimal [rational basis] scrutiny is foreign

 to our free-speech jurisprudence.”).

       CONTENT DISCRIMIMINATION — See also Reed v. Town of Gilbert,

 135 S.Ct. 2218 (2015) overturning the Ninth Circuit’s definition of content-

 discrimination. A law that is content based on its face is subject to strict scrutiny

 regardless of the government's benign motive, content-neutral justification, or lack

 of "animus toward the ideas contained" in the regulated speech. Id. at 2228

       NEUTRAL AND GENERALLY APPLICABLE — Likewise,                               the

 Supreme Court has recently and dramatically changed the legal landscape in

 reversing the Third Circuit in Fulton v. City of Philadelphia, 141 S.Ct. 1868 (2021).


 challenge to Arizona District Court local Rules; Mothershed v. Justices of Sup.
 Court, 410 F. 3d 602, 611 (9th Cir. 2005)(applying intermediate review to case filed
 by a licensed attorney questioning Arizona Supreme Court rules). However,
 intermediate review is by definition inapplicable when the government engages in
 content, or viewpoint, or speaker discrimination.
                                           7
Case 3:22-cv-02399-GAH-RAL Document 10 Filed 05/30/22 Page 8 of 20 PageID: 148




 There, the City of Philadelphia refused to allow a Catholic Services organization to

 continue to place adopted children in homes unless the religious organization agreed

 to certify same sex marriage couples as foster parents. Petitioner challenged this law

 under the First Amendment free speech and free exercise clauses. The District Court

 and the Third Circuit upheld this law as a neutral and generally applicable law. The

 Supreme Court unanimously invalidated this law under the free exercise clause, and

 thus did not address the free speech claim. The Court ruled that “it is plain that the

 City's actions have burdened CSS's religious exercise by putting it to the choice of

 curtailing its mission or approving relationships inconsistent with its beliefs.” Id. at

 1874. Concerning neutrality, “Government fails to act neutrally when it proceeds in

 a manner intolerant of religious beliefs or restricts practices because of their religious

 nature. Id. 1877. Concerning general applicability, the Court held, “A law is not

 generally applicable if it "invite[s]" the government to consider the particular reasons

 for a person's conduct by providing "’a mechanism for individualized exemptions.'"

 Id. at 1877. “The question, then, is not whether the City has a compelling interest in

 enforcing its non-discrimination policies generally, but whether it has such an

 interest in denying an exception to CSS.” Id. at 1881.

       Here, Plaintiffs aver the local Rules in the Third Circuit and in other Circuits

 are not neutral and generally applicable because they favor the viewpoints and the

 speech of forum state lawyers and they disfavor the viewpoints and speech of lawyers


                                             8
Case 3:22-cv-02399-GAH-RAL Document 10 Filed 05/30/22 Page 9 of 20 PageID: 149




 licensed in forty-nine other states. They are not neutral because they compel all

 citizens to put their faith in a forum state attorney or forfeit their substantive right to

 counsel in the U.S. District Courthouse. They are not generally applicable because

 there are a host of exceptions to admission under the local Rules and under the state

 laws including tit-for-tat provisions that some District Courts (including New Jersey)

 vicariously adopt. Also, federal government lawyers can be admitted anywhere.

 Plaintiffs further allege the compelling question here is not whether District Judges

 have a compelling interest in preserving their general admission local Rules; rather,

 the question is whether they have a compelling interest in not providing an exception

 for admission to lawyers licensed in forty-nine states, when one-third of the District

 Court do not restrict general admission privileges to forum state lawyers. Plaintiffs

 allege there is no constitutionally analytical difference between government-

 imposed restrictions on free exercise and the right to freely petition the government

 for the redress of grievances. Plaintiffs aver if the government is prohibited from

 compelling citizens to exercise a specific religion, it is prohibited from compelling

 citizens to associate and petition the government with a specific mandatory bar

 association. The citizen’s right to independent counsel is priceless.

        VIEWPOINT DISCRIMINATION — The United States, by enforcing

 disparate licensing local Rules, suppresses the viewpoints of a disfavored class of

 licensed lawyers, citizens, and corporations. A subject that is first defined by content


                                             9
Case 3:22-cv-02399-GAH-RAL Document 10 Filed 05/30/22 Page 10 of 20 PageID: 150




 and then regulated or censored by mandating only one sort of comment is not

 viewpoint neutral. To prohibit all sides from criticizing their opponents makes a law

 more viewpoint based, not less so. Matal v. Tam, 137 S.Ct. 1744, 1766 (2017). In

 Matal, the Supreme Court invalidated a clause in the federal trademark law that

 denied approval to any mark that disparaged members of a racial or ethnic group.

 The Court held that the clause was an unconstitutional speech restriction, explaining,

 “[T]hat is viewpoint discrimination: Giving offense is a viewpoint.” Matal, 137 S.

 Ct. at 1763. “A law or policy permitting communication in a certain manner for

 some but not for others raises the specter of content and viewpoint censorship. This

 danger is at its zenith when the determination of who may speak and who may not

 is left to the unbridled discretion of a government official.” Lakewood v. Plain

 Dealer Publishing Co, 486 U.S. 750, 763 (1988). A law found to discriminate based

 on viewpoint is an `egregious form of content discrimination,' which is

 `presumptively unconstitutional.'" Id. at 1766 Therefore, "[t]he Court's finding of

 viewpoint bias end[s] the matter." Iancu v. Brunetti, ___ U.S. ___, 139 S. Ct. 2294,

 2302, 204 L.Ed.2d 714 (2019). “If there is a bedrock principle underlying the First

 Amendment, it is that the government may not prohibit the expression of an idea

 simply because society finds the idea itself offensive or disagreeable." Texas v.

 Johnson, 491 U.S. 397, 414, 109 S.Ct. 2533, 105 L.Ed.2d 342 (1989).




                                          10
Case 3:22-cv-02399-GAH-RAL Document 10 Filed 05/30/22 Page 11 of 20 PageID: 151




       In Greenberg v. Haggerty, 491 F. Supp. 3d 12 (E.D. PA 2020), the Hon.

 CHAD F. KENNEY entered a preliminary injunction and invalidated amendments

 to the Pennsylvania Rules of Professional Conduct. His Honor concluded “[t]he

 Court's finding of viewpoint bias end[s] the matter. Id. at 32. The challenged

 disparate local Rules constitute viewpoint discrimination. That ends the matter. The

 local Rules are facially unlawful viewpoint discrimination.

       SPEAKER DISCRIMINATION — Likewise, the government and the

 judiciary are prohibited from favoring one speaker over another. In Citizens United

 v. Federal Election Commission, 130 S.Ct. 876 (2010):

       Quite apart from the purpose or effect of regulating content, moreover, the
       Government may commit a constitutional wrong when by law it identifies
       certain preferred speakers. By taking the right to speak from some and giving
       it to others, the Government deprives the disadvantaged person or class of the
       right to use speech to strive to establish worth, standing, and respect for the
       speaker's voice. The Government may not by these means deprive the public
       of the right and privilege to determine for itself what speech and speakers are
       worthy of consideration. The First Amendment protects speech and speaker,
       and the ideas that flow from each. Citizens United, 130 S.Ct. at 890
       …
       Any effort by the Judiciary to decide which means of communications are to
       be preferred for the particular type of message and speaker would raise
       questions as to the courts' own lawful authority. Substantial questions would
       arise if courts were to begin saying what means of speech should be preferred
       or disfavored. Id. at 890 (Emphasis added)


 PRIOR RESTRAINT AND PETITION THE GOVERNMENT INEQUALITY

       Prior restraints on First Amendment rights are presumptively unconstitutional.

 Southeastern Promotions, Ltd. v. Conrad, 420 U.S. 546, 558, (1975). In its simple,
                                          11
Case 3:22-cv-02399-GAH-RAL Document 10 Filed 05/30/22 Page 12 of 20 PageID: 152




 most blatant form, a prior restraint is a law which requires submission of speech to

 an official who may grant or deny permission to utter or publish it based upon its

 contents. Alexander v. United States, supra, 509 U.S. 544, 556. (KENNEDY

 dissenting). The local Rules are a prior restraint because they compel the plaintiffs

 to pass a state administered content-based licensing exam, virtually identical to the

 licensing of printing presses in the 17th Century, in order to exercise their First

 Amendment freedoms to speak as a lawyer, associate with their client as a lawyer,

 and petition the government for the redress of grievances as a lawyer, in some

 United States Courthouses, but not others.

       In Professional Real Estate Investors, Inc. v. Columbia Pictures Industries,

 Inc., 508 U.S. 49 (1993), in construing the right to petition, the Court held “that

 litigation could only be enjoined when it is a sham. To be a sham, first, it must be

 objectively baseless in the sense that no reasonable litigant could expect success on

 the merits; second, the litigant’s subjective motive must conceal an attempt to

 interfere with the business relationship of a competitor …through the use of

 government process — as opposed to the outcome of that process — as an anti-

 competitive weapon.” Id. at 60-61. Plaintiffs submit the local Rules, on their face,

 violate the Petition Clause because they presume all licensed lawyers from forty-

 nine states will file sham petitions for an anti-competitive purpose and only file sham

 petitions.


                                           12
Case 3:22-cv-02399-GAH-RAL Document 10 Filed 05/30/22 Page 13 of 20 PageID: 153




       IRREPARABLE INJURY — "The loss of First Amendment freedoms, for

 even minimal periods of time, unquestionably constitutes irreparable injury." Elrod

 v. Burns, 427 U.S. 347, 373, 96 S.Ct. 2673, 49 L.Ed.2d 547 (1976); Greenberg v.

 Haggerty, supra, 491 F. Supp. 3d at 33. Moreover, Plaintiffs’ Request for Leave to

 File a Legal Memorandum of Supreme Court First Amendment attorney speech

 cases demonstrates      (ECF 5) demonstrates that restrictions that suppress an

 attorney’s First Amendment freedoms are subject to strict scrutiny review, in which

 the government bears the burden of proof.

       In sum, the Hon. Magistrate Judge RICHARD A. LLORET should be recused

 forthwith for the following reasons: (i) because the Plaintiffs’ loss of First

 Amendment freedoms for even minimal periods of time constitutes an irreparable

 injury; (ii) to avoid delay and the needless duplication of judicial resources; (iii) the

 national importance of the multiple First Amendment and separation of powers

 issues presented: and (iv) the fact the Hon. GERALD A. McHUGH has previously

 decided a similar local Rule challenge and recent Supreme Court precedent

 overruling recent Third and Ninth Circuit professional speech and licensing cases.

 II. THE HONORABLE MAGISTRATE JUDGE SHOULD BE RECUSED
 BASED ON 28 U.S.C. § 455
       The Hon. Magistrate Judge RICHARD A. LLORET is not an Article III court

 judges. He does not have life tenure. He has not been nominated by the president of

 approved by the Senate. He is dependent on the good will and favor for his continued

                                            13
Case 3:22-cv-02399-GAH-RAL Document 10 Filed 05/30/22 Page 14 of 20 PageID: 154




 livelihood as a magistrate on his judicial colleague, many of whom are his superior

 (defendant Chief Judge SANCHEZ) and many of whom are defendants in this

 proceeding (defendant Third Circuit Judicial Council judges). His Honor is thus in

 a Catch 22 because he is a trustee and officer of the defendant parties in this

 proceeding.

       It appears his Hon. has a mandatory and sua sponte duty to himself. First, 28

 U.S.C. § 455 provides:

       (b) He shall also disqualify himself in the following circumstances: …

       (i)     Is a party to the proceeding, or an officer, director, or trustee of a
               party;

        Disqualification under 28 U.S.C. § 455(b) cannot be waived. See 28 U.S.C.

 § 455 (e):

       No justice, judge, or magistrate judge shall accept from the parties to the
       proceeding a waiver of any ground for disqualification enumerated in
       subsection (b).

       Section 455 is self-enforcing; it places the burden on the judge himself or

 herself to identify the existence of grounds for recusal Liteky v. United States, 510

 U.S. 540, 548 (1994).

       Second, his Honor should also recuse himself under 455 (b)(1) because he

 may have knowledge of disputed evidentiary facts concerning the Local Rules, and




                                          14
Case 3:22-cv-02399-GAH-RAL Document 10 Filed 05/30/22 Page 15 of 20 PageID: 155




 because of bias in favor of colleagues who have adopted and have affirmed these

 challenged Local Rules including the Hon. GERALD A. McHUGH.

       § 455. Disqualification of justice, judge, or magistrate judge

       (b) He shall also disqualify himself in the following circumstances:

       (1) Where he has a personal bias or prejudice concerning a party, or personal
       knowledge of disputed evidentiary facts concerning the proceeding;


       Third, recusal is also required where the judge, or a lawyer with whom the

 judge previously practiced law, was a "material witness" concerning the "matter in

 controversy." 28 USCA § 455(b)(2). The purpose of this provision is to prevent

 judges from having to pass on the competence and veracity of their own testimony

 given with respect to a matter presently in controversy before them. In re Continental

 Vending Machine Corp. 543 F.2d 986, 995-996 (2nd Cir. 1976).                 The Hon.

 Magistrate Judge RICHARD A. LLORET may be called upon to pass judgment on

 the testimony or lack of testimony with respect to a matter directly in controversy in

 this local Rule challenge. Due process forbids a judge from trying his or her own

 case or any case in which he or she has a direct, personal, substantial, interest in the

 outcome. Aetna Life Ins. Co. v. Lavoie 475 U.S. 813, 821-822 (1986).

       Fourth, Paul Ekman is psychology professor at the University of California,

 San Francisco. He is world famous for his pioneering work on the universality of

 human emotions and their recognition. See Paul Ekman, Telling Lies: Clues to


                                           15
Case 3:22-cv-02399-GAH-RAL Document 10 Filed 05/30/22 Page 16 of 20 PageID: 156




 Deceit In the Marketplace, Politics, and Marriage 3rd Ed. p. 20 (W.W. Norton &

 Company 2003). Dr. Ekman concludes: “We tend to be invested in our friendships

 and work relationships, and the wish to preserve them may lead us to develop

 blindness to behaviors that could disrupt them.” Id. at 337.

       Fifth, 455. Disqualification of justice, judge, or magistrate judge, provides

       (a) Any justice, judge, or magistrate judge of the United States shall
       disqualify himself in any proceeding in which his impartiality might
       reasonably be questioned.


       In Frazier v. Heebe, 482 U.S. 641 (1987), a lawyer challenged the local bar

 admission Rules of the Eastern District of Louisiana, Chief Judge Heebe was the

 lead defendant. The entire Court disqualified itself. Judges on the Court testified in

 favor of their own exclusionary local Rules. The case at bar filed by lawyers

 challenging the bar admission Local Rules in the Third Circuit is virtually

 indistinguishable from Frazier v. Heebe, because the District of Delaware’s Local

 Rules disqualify lawyers on the basis of office location. "The goal of section 455(a)

 is to avoid even the appearance of partiality." Liljeberg v. Health Services

 Acquisition Corp. 486 U.S. 847, 860 (1988). The statute's use of the word "might"

 ("might reasonably be questioned") makes clear that a judge should decide "close

 calls" in favor of removing himself or herself from the case. New York City Housing

 Develop. Corp. v. Hart 796 F.2d 976, 980(7th Cir. 1986); In re Chevron U.S.A.,

 Inc. 121 F.3d 163, 165(5th Cir. 1997).
                                          16
Case 3:22-cv-02399-GAH-RAL Document 10 Filed 05/30/22 Page 17 of 20 PageID: 157




       Section 455(a) requires disqualification "to be evaluated on an objective basis,

 so that what matters is not the reality of bias or prejudice, but its appearance." Liteky

 v. United States, 510 U.S. at 548; United States v. Bremers (5th Cir. 1999) 195 F.3d

 221, 226 ("recusal may well be required even where no actual partiality exists"). In

 a criminal case, a judge and U.S. Attorney were close friends who intended to

 vacation together with their families after the trial. Recusal was required; the close

 personal relationship could result in a "reasonable question" about the judge's

 impartiality. United States v. Murphy 768 F.2d 1518, 1538-1539(7th Cir. 1985).

       Virtually no judge believes he or she is biased for or against any party.

 However, the latest scientific evidence proves bias is sub-conscious and people are

 not consciously aware of it. Dr. Steven Novella is a Professor at Yale Medical

 School. In Your Deceptive Mind: A Scientific Guide to Critical Thinking Skills, p

 120 (Teaching Company 2012), he writes:

        “Research has demonstrated that when subjects are confronted with a very
       charismatic person, for example, especially when that person is identified with
       our own "in" group, if we think that they are "one of us," the subjects will tend
       to turn off their critical thinking. In a very real sense they will surrender their
       will to the charismatic person.”

       “The drive for consistency, also called ‘drive for consonance,’ between our

 perceptions of ourselves and our behavior is so important, that we will go out of our

 way to claim supportive evidence as well-researched and arguments in favor of our

 ideas as well taken and important, while dismissing contradictory arguments as


                                            17
Case 3:22-cv-02399-GAH-RAL Document 10 Filed 05/30/22 Page 18 of 20 PageID: 158




 stupid, poorly researched, and based on rare occurrences. This has been called

 ‘confirmation bias.’ we see what we need to see to be internally consistent.” Dalton

 Kehoe, Effective Communication Skills, p. 69 (Teaching Company 2011) Simply

 stated, with “confirmation bias” people see, in any given set of facts that go both

 ways, what they want to see. “This process is also supported by the unconscious

 operations of the mind as well. A group of people were having their brains scanned

 using magnetic resonance imaging while receiving critical information about their

 favorite presidential candidates. The scans indicated that the reasoning areas of the

 brain, the frontal lobes, virtually shut down when this dissonant information was

 being delivered. But when consonance was restored, when they got information that

 it fit their perceptions by telling them, of course, that the first information was

 actually a lie, it was fabricated, the emotional circuits of the brain lit up happily.”

 Ibid.

         Any magistrate judge’s deciding the validity of his or her own Court’s local

 Rules would cause a reasonable person to question their impartiality. Moreover, for

 this Magistrate Judge to decide any aspect of this case would be identical to

 providing sovereignty to a salaried employee to decide whether a decision by the

 Board of Directors, squarely lodged within the margins of the Board of Directors,

 was or was not an abuse of discretion. There is a conflict of interest.




                                           18
Case 3:22-cv-02399-GAH-RAL Document 10 Filed 05/30/22 Page 19 of 20 PageID: 159




       In view of the statutory standards set forth in 28 U.S.C. 455, Plaintiffs’

 motion for recusal of the His Honor the Magistrate Judge should be granted.

 Dated: May 30, 2022                                Respectfully submitted,

                                                    /s/ Joseph Robert Giannini
                                                    __________________
                                                    Joseph Robert Giannini
                                                    Counsel for Plaintiffs
                                                    LAWYERS         FOR        FAIR
                                                    RECIPROCAL ADMISSION


                              PROOF OF SERVICE

       A true and full copy of this pleading NOTICE OF MOTION FOR

 RECUSAL OF MAGISTRATE JUDGE has been served by first class mail to:

             U.S. Attorney’s Office
             Attn. Phillip R. Sellinger
             970 Broad St, FL 7
             Newark, NJ 07102
 And

             Department of Justice
             Attn. Attorney General Merrick B. Garland
             950 Pennsylvania Avenue, NW
             Washington, DC 20530-0001

       This proof of service is submitted under penalty of perjury.

 Dated: May 30, 2022                           /s/ Joseph Robert Giannini
                                               _______________________
                                               JOSEPH ROBER GIANNINI




                                          19
Case 3:22-cv-02399-GAH-RAL Document 10 Filed 05/30/22 Page 20 of 20 PageID: 160




                                      20
